Case 8:17-cv-03108-MSS-JSS Document 7 Filed 04/18/18 Page 1 of 2 PageID 131



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

MATTHEW COX,

      Plaintiff,

v.                                                      Case No: 8:17-cv-3108-T-35JSS

INCARCERATED ENTERTAINMENT,
LLC, WARNER BROS. PICTURES, a
division of WB Studio Enterprises, Inc.,
EFRAIM DIVEROLI, and ROSS
REBACK, as the Estate of,

      Defendants.


                                SHOW CAUSE ORDER

      THIS CAUSE comes before the Court for consideration sua sponte. On December

27, 2017, Plaintiff filed this action against Defendants. However, upon review of the

record, it does not appear that Plaintiff has served Defendants with a summons and a

copy of the Complaint. There are no proofs of service in the record, and no Defendant

has appeared in this action.

      A district court lacks jurisdiction over a party that has not properly been served with

process. See, e.g., Hemispherx Biopharma, Inc. v. Johannesburg Consol. Investments,

553 F.3d 1351, 1360 (11th Cir. 2008) (“Service of process is a jurisdictional requirement:

a court lacks jurisdiction over the person of a defendant when that defendant has not

been served.”) (citation omitted); In re Worldwide Web Systems, Inc., 328 F.3d 1291,

1299 (11th Cir. 2003) (“Generally, where service of process is insufficient, the court has

no power to render judgment and the judgment is void.”).
Case 8:17-cv-03108-MSS-JSS Document 7 Filed 04/18/18 Page 2 of 2 PageID 132



       Further, the time to serve Defendants has now long passed. Rule 4(m) provides

that

       If a defendant is not served within 90 days after the complaint is filed, the
       court—on motion or on its own after notice to the plaintiff—must dismiss the
       action without prejudice against that defendant or order that service be
       made within a specified time.

Fed. R. Civ. P. 4(m). Therefore, Plaintiff’s action, which was filed on December 27, 2017

and for which service has yet to be made, is well past the ninety (90) days provided for

service under to Rule 4(m) and is subject to dismissal.

       Accordingly, it is hereby ORDERED that Plaintiff is DIRECTED to SHOW CAUSE

within fourteen (14) days from the date of this Order why this case should not be

dismissed for failure to properly serve Defendants. Failure to respond within the

fourteen (14) days permitted by this Order will result in dismissal of Plaintiff’s

action without further notice from this Court.

       DONE and ORDERED in Tampa, Florida, this 18th day of April, 2018.




Copies furnished to:
Counsel of Record
Any pro se party
